I must dissent from the majority opinion because of plaintiff's obvious contributory negligence. The majority state that plaintiff need not anticipate defendant's negligence. That is true. But it is equally true "that a person may not abandon the duty of ordinary care for his own safety, and, in the event of injury, seek to charge one whose negligence would not in itself have been sufficient had there not been combined therewith the lack of due care on the part of the injured person.": Walker v. B. and IV. Corp. et al., 320 Pa. 504, 508,182 A. 643. *Page 593 
Plaintiff admitted he could have seen the opening he had looked where he was walking. He chose instead not to use his senses and that failure rendered him guilty of contributory negligence as a matter of law: Bartek v. Grossman, 356 Pa. 522,52 A.2d 209. Nor is it any excuse that the music box partially concealed the opening as he approached it since, had he looked, it would have been completely visible to him before he stepped into it. See Burckhalter et ux. v. Woolworth Co., 340 Pa. 300,16 A.2d 716.
The majority opinion attempts to justify plaintiff's failure to observe his danger by stating that the menu on the wall of the restaurant is a sufficient "attention-arrester" to make plaintiff's contributory negligence a question for the jury and cites Bloomer v. Snellenburq, 221 Pa. 25, 69 A. 1124 as authority. That case was so decided because the display counters were designed to attract the eye of people walking through the aisles. Here the menu was placed on the wall for the use of persons sitting at the counter or in the booths awaiting service. Ordinary prudence dictates that a person should watch where he is going and it is no excuse that he was looking at signs which he would have had ample time to scan once he had taken a seat. The menus were not so eye-catching as to justify his failure to take normal precautions for his own safety. I would, therefore, affirm the judgment of the court below.